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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

                                                   §
    IN RE:                                         §      CASE NO: 20-10846
                                                   §
    THE ROMAN CATHOLIC CHURCH                      §      CHAPTER 11
    OF THE ARCHDIOCESE OF NEW                      §
    ORLEANS,                                       §      COMPLEX CASE
                                                   §
    DEBTOR.                                        §      SECTION A
                                                   §

                                               ORDER

          Before the Court is the Eighth Interim Application For Allowance of Compensation of Stout

   Risius Ross, LLC (fka The Claro Group, LLC) as Expert Consultant on Sexual Abuse and Expert

   Witness To the Official Committee of Unsecured Creditors For the Period November 1, 2024,

   through February 28, 2025, (the “Interim Application”), [ECF Doc. 3857], filed by Stout Risius

   Ross, LLC (the “Applicant”) for the period November 1, 2024, through February 28, 2025, (the

   “Application Period”).

          Considering the record and pleadings, the applicable law, and finding good cause,

          IT IS ORDERED that the Interim Application is APPROVED.

          IT IS FURTHER ORDERED that the Applicant is allowed and awarded, on an interim

   basis, fees for services rendered and expenses incurred in the amount of $52,951.00 for the

   Application Period as an administrative expense claim under 11 U.S.C. § 503 against the estate of

   the Debtor (the “Award”). This Award consists of $52,951.00 in fees for services rendered and

   $0.00 in expenses incurred by the Applicant during the Application Period.

          IT IS FURTHER ORDERED that the Debtor is authorized and directed to pay the

   balance of the Award to the Applicant on an interim basis as an administrative expense claim under
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   11 U.S.C. § 503 against the estates of the Debtor, within ten (10) calendar days after the entry of

   this Order.

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction to hear and consider

   all matters arising from the interpretation or implementation of this Order.

           IT IS FURTHER ORDERED that the Applicant is instructed to serve this Order by first-

   class U.S. Mail within three days on all parties not receiving electronic notice through this Court’s

   CM/ECF system pursuant to applicable Federal Rules of Bankruptcy Procedure, this Court’s Local

   Rules, this Court’s Complex Case Procedures (if applicable), and any Order issued by this Court

   limiting notice and file a certificate of service into the record.

           New Orleans, Louisiana, April 21, 2025.


                                                   __________________________________________
                                                             MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE




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